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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                ROCK HILL DIVISION

Nutramax Laboratories, Inc., and Nutramax        )   Civil Action No. 0:16-1255-JMC
Laboratories Veterinary Sciences, Inc.           )
                                                 )
                                   Plaintiffs,   )
                                                 )
                vs.                              )         JOINT STIPULATION OF
                                                 )        SETTLEMENT AND ORDER
Manna Pro Products, LLC, Nutri-Vet               )
Wellness, LLC, and 21st Century Animal           )
HealthCare, LLC,                                 )
                                                 )
                                 Defendants.     )

         This Stipulation of Settlement and Order (the “Stipulation”) is hereby made effective

as of this 8th day of July, 2016 (the “Effective Date”), by and between Plaintiffs Nutramax

Laboratories, Inc. and Nutramax Laboratories Veterinary Sciences, Inc. (collectively, the

“Plaintiffs”) and Defendants Manna Pro Products, LLC, Nutri-Vet Wellness, LLC, and 21st

Century Animal HealthCare, LLC (collectively, the “Defendants”). Plaintiffs and Defendants

are sometimes referred to herein individually as “Party” and together as the “Parties.”

                                          RECITALS

         WHEREAS Plaintiffs have marketed, advertised, distributed, and sold their canine

health supplements nationwide bearing the packaging trade dress and visual material depicted

below:
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        WHEREAS Plaintiffs’ packaging trade dress and visual material shown above

consists of the following elements: (1) a photograph of a particular dog breed that is unique

to each product (2) containing an obscured background of foliage; below the photograph are

(3) multiple silhouetted images of dogs and (4) a color band that is unique to each product;

and (5) a small rectangular box that is distinct from comparable products offered by

competitors (“Plaintiffs’ packaging”);

        WHEREAS Defendants have distributed products under their “Petnology” line in the

product packaging shown below (which products shall hereinafter be referred to as the

“Accused Products”):




        WHEREAS, one or more disputes have arisen between the Parties regarding the

Accused Products and, specifically, the alleged similarity between Plaintiffs’ packaging and

the Accused Products’ packaging (collectively, the “Disputes”); and

        WHEREAS, the Parties desire to fully and finally resolve any and all claims and

disagreements between them asserted in, arising out of, or in any way regarding the Disputes,

on the terms and subject to the conditions set forth herein and without any admission of

liability.
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       NOW THEREFORE, in consideration of the mutual covenants and the conditions

herein set forth, and for other good and valuable consideration, the sufficiency and receipt of

which the Parties hereby acknowledge, the Parties agree as follows:

                                  TERMS OF AGREEMENT

       1.     Settlement Terms. In full and complete settlement of the Disputes between the

Parties, and pursuant to the mutual releases set forth in this Stipulation, the Parties agree as

follows:

        (a)     Within seven (7) calendar days of the Effective Date, Defendants shall pay
Plaintiffs thirty-five thousand dollars ($35,000).

        (b) As of the Effective Date, and for all times in the future, Defendants, their
respective past, present, and future divisions, subsidiaries, corporate parents, affiliates,
officers, directors, employees, agents, attorneys, partners, associates, representatives, privies,
controlling persons, stockholders, beneficiaries, and heirs, and each of their respective
predecessors, successors, assigns, insurers, and subrogees, and all others in active concert or
participation with them shall not manufacture, distribute, ship, advertise, market, promote,
transfer, sell, or offer to sell the Accused Products in the packaging shown above.

        (c)     As of the Effective Date, and for all times in the future, Defendants, their
respective past, present, and future divisions, subsidiaries, corporate parents, affiliates,
officers, directors, employees, agents, attorneys, partners, associates, representatives, privies,
controlling persons, stockholders, beneficiaries, and heirs, and each of their respective
predecessors, successors, assigns, insurers, and subrogees, and all others in active concert or
participation with them shall not manufacture, distribute, ship, advertise, market, promote,
transfer, sell, or offer to sell any products that either (i) use Plaintiffs’ packaging, or (ii) the
packaging of the Accused Products as depicted above. Plaintiffs agree that the packaging
attached hereto as Exhibit A is not confusingly similar to Plaintiff’s packaging.

        (d) As of the Effective Date, and for all times in the future, Defendants, their
respective past, present, and future divisions, subsidiaries, corporate parents, affiliates,
officers, directors, employees, agents, attorneys, partners, associates, representatives, privies,
controlling persons, stockholders, beneficiaries, and heirs, and each of their respective
predecessors, successors, assigns, insurers, and subrogees, and all others in active concert or
participation with them shall not reference or use in any manner the words Nutramax,
Nutramax Laboratories®, Cosequin®, Dasuquin®, or any other of Plaintiffs’ products or
trademarks, whether in advertising or marketing statements or for any purpose or reason, and
regardless of the channel of trade or medium of advertising (including on its website or
through any agent, distributor or reseller, such as Amazon.com), and whether for product
comparison purposes or not. Defendants further agree not to make any indirect or implied
written or oral comparison between any product and any of Plaintiffs’ products by using
identical or substantially similar claims made on Plaintiffs’ products (for example, a
currently-prohibited comparison by implication would be “compare to #1 vet recommended
brand,” “same formula as the #1 vet-recommended brand”).
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       2.     Release by Defendants. As a material inducement for Plaintiffs to enter into

this Stipulation, Defendants, for themselves and their past, present, and future affiliates,

employees, agents, attorneys, partners, associates, representatives, privies, beneficiaries, and

heirs, and each of their respective predecessors, successors, assigns, insurers, and subrogees,

hereby absolutely, irrevocably, and unconditionally release, remise, and forever discharge

Plaintiffs and each of such Plaintiffs’ past, present and future divisions, subsidiaries,

corporate parents, affiliates, officers, directors, employees, agents, attorneys, partners,

associates, representatives, privies, controlling persons, shareholders, beneficiaries, and heirs,

and each of their respective predecessors, successors, assigns, insurers and subrogees from

and against any and all manner of actions, causes of action, suits, debts, agreements, promises,

obligations, damages, judgments, claims, liabilities, losses, costs (including attorney fees),

expenses, and demands whatsoever, direct or indirect, in law or in equity, whether known or

unknown, which any of the Defendants had, has, or in the future may have against any of the

Plaintiffs with respect to the Disputes and any action or omission arising out of or relating to

the Disputes. This release specifically excludes the obligations of the Parties set forth in this

Stipulation and any and all documents and instruments executed in connection herewith.

       3.     Release by Plaintiffs. As a material inducement for Defendants to enter into

this Stipulation, Plaintiffs, for themselves and their past, present, and future affiliates,

employees, agents, attorneys, partners, associates, representatives, privies, beneficiaries, and

heirs, and each of their respective predecessors, successors, assigns, insurers, and subrogees,

hereby absolutely, irrevocably, and unconditionally release, remise, and forever discharge

Defendants and each such Defendants’ past, present and future divisions, subsidiaries,

corporate parents, affiliates, officers, directors, employees, agents, attorneys, partners,

associates, representatives, privies, controlling persons, shareholders, beneficiaries, and heirs,

and each of their respective predecessors, successors, assigns, insurers and subrogees from
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and against any and all manner of actions, causes of action, suits, debts, agreements, promises,

obligations, damages, judgments, claims, liabilities, losses, costs (including attorney fees),

expenses, and demands whatsoever, direct or indirect, in law or in equity, whether known or

unknown, which any of the Plaintiffs had, has, or in the future may have against any of the

Defendants with respect to the Disputes and any action or omission arising out of or relating

to the Disputes. This release specifically excludes the obligations of the Parties set forth in

this Stipulation and any and all documents and instruments executed in connection herewith.

This Section is not effective until the 91st day after payment of the amount identified supra

Section 1(a) is fully received and cleared.

       4.     No Lawsuits. It is the express intention of the Parties that the foregoing

releases shall be effective as a bar to any and all manner of actions, causes of action, suits,

debts, agreements, promises, obligations, damages, judgments, claims, liabilities, losses, costs

(including attorney fees), expenses, and demands whatsoever, direct or indirect, in law or in

equity, whether known or unknown, and the Parties agree not to sue or bring suit against the

other Party to this Stipulation or in any way assist any other person or entity in suing or

otherwise bringing a claim, action, or proceeding against either Party to this Stipulation with

respect to the claims released hereby.

       5.     Non-Disparagement. Each Party agrees not to make, publish, or otherwise

communicate, or cause, permit, or suffer to be made, published, or otherwise communicated,

any negative, disparaging, defamatory, or deleterious remark or statement to any third party

concerning the other Party hereto, including, without limitation, negative statements

concerning its reputation, services, business prospects, capabilities, skills or abilities, or

financial or personal health; provided, however, that nothing in this Paragraph shall preclude

either Party from providing any truthful statements or other information in any judicial or

administrative proceeding, or as otherwise required by law.
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       6.     Specific Enforcement. The Parties agree that it may be impossible to assess the

damages caused by a violation of this Stipulation or any of its terms, and therefore agree that

the Court may specifically enforce all of the provisions of this Stipulation and any and all

documents executed in connection herewith or to be executed pursuant to this Stipulation,

and that specific performance is an appropriate and necessary remedy.

       7.     Non-Admission of Liability. Neither this Stipulation nor the events occurring

during the negotiation of this Stipulation (including all statements, admissions, or

communications made in connection therewith) shall constitute or be considered admissions

of liability or wrongdoing by either Party, or an acknowledgment by either Party of the truth

or correctness of the other Party’s contentions or allegations. The Parties have entered into

this Stipulation solely for the purpose of settling the Disputes.         All actions taken and

statements made by the Parties or their representatives relating to their participation in this

Stipulation, including its development and implementation, were taken and made in the

context of privileged and confidential dispute resolution negotiations. The settlement shall be

of no evidentiary effect in any proceeding, except with respect to a proceeding between the

Parties to enforce any provision of this Stipulation.

       8.     Non-Assignment. Each Party represents and warrants that such Party has not

assigned or otherwise transferred any claims released herein to any non-party to this

Stipulation, and that each Party will not assign or otherwise transfer, or attempt to assign or

otherwise transfer, any claim relating to the Disputes to any non-party to this Stipulation.

       9.     Entire Agreement.       This Stipulation constitutes the entire understanding

between the Parties, and supersedes all prior or contemporaneous oral or written

understandings, statements, representation, or promises, with respect to the subject matter

hereof. The Parties agree that the Recitals beginning on page one (1) of this Stipulation are

incorporated herein and constitute a material part of this Stipulation.
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        10.    Binding Effect. This Stipulation and the releases contained herein shall be

binding on, and shall inure to the benefit of, the Parties, and their respective past, present, and

future divisions, subsidiaries, corporate parents, affiliates, officers, directors, employees,

agents, attorneys, partners, associates, representatives, privies, controlling persons,

stockholders, beneficiaries, and heirs, and each of their respective predecessors, successors,

assigns, insurers, and subrogees. Each Party further agrees that nothing in this Stipulation

shall operate or be construed as a release or discharge of any obligation owed by any Party

under the terms of this Stipulation or preclude any right, claim, or action by any Party to

enforce the provisions of this Stipulation.

        11.    Choice of Law and Jurisdiction. This Stipulation shall be governed by and

construed in accordance with the laws of the State of South Carolina, without regard to such

jurisdiction’s conflict of laws principles, except to the extent that federal law requires that

federal law governs. The Court shall retain jurisdiction with respect to the implementation

and enforcement of the terms of this Stipulation and the Parties to this Stipulation submit to

the jurisdiction of the Court for those purposes.

        12.    Attorneys’ Fees.     The Parties agree that, in any motion practice or other

proceedings initiated to enforce the terms of this Stipulation, the prevailing party shall be

entitled to its reasonable attorneys’ fees.

        13.    Costs. Each Party shall bear and pay such Party’s own expenses, costs, and

charges, including attorneys’ fees, incident to the negotiation, preparation, and execution of

this Stipulation.

        14.    Enforcement of Terms. Failure to insist upon strict compliance with any of the

terms, covenants, or conditions of this Stipulation shall not be deemed a waiver of any such

term, covenant, or condition, nor shall such failure at any one time or more times be deemed
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a waiver or relinquishment of any other time or times of any right under the terms, covenants,

or conditions of this Stipulation.

       15.    Modification. This Stipulation shall not and cannot be modified, amended,

altered, limited, or supplemented except upon the execution and delivery of a written

agreement expressly referring to this Stipulation and executed by each of the Parties.

       16.    Severability. In the event any provision contained in this Stipulation shall for

any reason be held unenforceable, illegal, or invalid, such holding shall not affect any other

provision hereof.

       17.    Counterparts. This Stipulation may be signed by the Parties in counterparts,

and shall be fully enforceable as if all Parties had signed a single document.

       18.    Acknowledgment. Each Party acknowledges and represents that (a) such Party

has read the terms of this Stipulation, (b) such Party has been assisted and advised by counsel

of its or his choice with respect to this Stipulation, (c) such Party fully understands the terms

of this Stipulation, (d) such Party, including the individual signing on behalf of such Party if

an entity, has the authority to enter into this Stipulation and bind such Party, and the

execution, delivery and performance of this Stipulation have been duly authorized by all

necessary action (including all corporate action), (e) such Party has entered into this

Stipulation voluntarily and with full knowledge of the effects and consequences hereof, and (f)

this Stipulation is made and entered into by such Party without reliance upon any statement,

representation, promise, inducement, understanding, or agreement which is not herein

expressed or referenced.

       19.    Further Assurances. Each Party agrees, at any time following the execution

hereof and without further consideration, to cooperate fully and to promptly execute and

deliver all such documents and instruments, and take all such further actions, as any other
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Party may reasonably request in order to more fully carry out the transactions contemplated

by, and the purposes and intents of, this Stipulation.

       20.    Construction. The Parties agree that this Stipulation was the result of a joint

effort, and shall not be construed or interpreted against any one Party.

       21.    Survival. Each Party acknowledges that the terms of this Stipulation shall

survive the execution of the mutual releases set forth herein.


[SIGNATURE PAGE FOLLOWS]
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              IN WITNESS WHEREOF, the Parties have executed this Stipulation as of the

day and year below.

Respectfully submitted,                          Respectfully submitted,

DEFENDANTS MANNA PRO PRODUCTS,                   PLAINTIFFS NUTRAMAX
LLC, NUTRI-VET WELLNESS, LLC, AND                LABORATORIES, INC. AND
21ST CENTURY ANIMAL HEALTHCARE,                  NUTRAMAX LABORATORIES
LLC                                              VETERINARY SCIENCES, INC.

By their attorney,                               By their attorneys,

/s/ Beattie B. Ashmore*                          /s/ Richard A. Farrier, Jr.
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permission from Beattie B. Ashmore, pursuant     Facsimile: 843.579.5601
to Section 10.4 of the Electronic Case Filing
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SO ORDERED.




This 8th day of July, 2016.
                                                Honorable J. Michelle Childs
                                                United States District Judge
